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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


CommWorks Solutions, LLC,                         §
                                                  §
                      Plaintiff                   §
                                                  §
-v-                                               §         Civil Action No. 6:21-cv-00366-ADA
                                                  §
Comcast Cable Communications,                     §
LLC, et al.                                       §
                                                  §
                      Defendant                   §



                        ORDER APPOINTING TECHNICAL ADVISOR

       The Court hereby appoints Darryl J. Adams to serve as the Technical Advisor for the Court

in this case. Mr. Adams’ contact information is as follows:

               Darryl J. Adams
               401 Congress Ave., Ste. 1650
               Austin, Texas 78701
               dadams@sgbfirm.com

       Mr. Adams will assist the Court with technical issues related to the claim construction

process and advise the Court regarding preliminary and final claim constructions. Because a

technical advisor serves essentially as a law clerk to the Court and will be familiar with the claim

construction issues in this case, Mr. Adams may also assist the Court in drafting a claim

construction order.

       The parties are instructed to mail a paper copy of the claim construction briefs and a USB

drive with any exhibits and/or technology tutorials to the above address at least 10 days before the

claim construction hearing.

       Finally, depending on the needs of the case, Mr. Adams may also assist the Court with

motions for summary judgment, Daubert motions, at trial, and with post-trial motions.
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SIGNED this 30th day of November, 2021.




                                 ALAN D ALBRIGHT
                                 UNITED STATES DISTRICT JUDGE
